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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

    THE STATE OF TEXAS, et al.,           §
                                          §
          Plaintiffs,                     §
    v.                                    §     Civil Action No. 4:20-cv-00957-SDJ
                                          §
    GOOGLE LLC,                           §
                                          §
          Defendant.                      §




           GOOGLE’S OPPOSITION TO PLAINTIFFS’ MOTION TO DEEM
          SUPPLEMENTAL EXPERT REPORT OF JACOB HOCHSTETLER
                            TIMELY SERVED
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                                         INTRODUCTION

          Plaintiffs have not been candid with the Court, the Special Master, or Google. Chats

   and retention are not a new issue in this case: If Plaintiffs intended to designate an expert on

   those issues, they were required by the Scheduling Order to disclose their intent to do so over

   four months ago on June 7, 2024. See ECF No. 458. Instead:

              ● Plaintiffs told the Special Master in July that the production of the logs at issue
                would be the end of the burden for Google, when they knew but did not disclose
                that another Report was forthcoming. See Ex. A, July 10 Hr’g Tr. at 85:2
                (counsel for Texas stating: “All the burden is over” for Google).
              ● Plaintiffs failed to disclose their intentions while the parties renegotiated the
                expert schedule in August—while Google was simultaneously preparing the
                logs for production—culminating in the Court entering a new schedule. ECF
                No. 609.
              ● After Google produced the logs, Plaintiffs told Google that they needed
                additional information about the logs ahead of the late-August deposition of Mr.
                Pichai. Ex. B at 3. But Plaintiffs asked no questions about the logs in the
                deposition, and it is now apparent that their intention was to later assert that they
                needed the information to finalize their untimely Report. Ex. C at 2. Plaintiffs
                never disclosed that to Google. See id. at 1.
              ● In October, Plaintiffs then produced a new affirmative report by a software
                engineer—now rebranded, but not qualified as a document retention expert—to
                opine on preservation of messages “relevant to this litigation,” an obvious legal
                issue that is in the Court’s province.
   The result is that the current schedule—negotiated by the parties and entered by the Court—

   does not now afford Google a reasonable opportunity to respond to the new affirmative report

   that Plaintiffs dropped on October 4. Summary Judgment and Daubert motions are due on

   November 18. The Court should not countenance gamesmanship of this sort and should deny

   Plaintiffs’ Motion.

          Consistent with that pattern, Plaintiffs’ Motion is remarkable for its failure to disclose

   to the Court the real reason for this dispute. Even after Plaintiffs failed—for months—to notify

   the Court or Google of their intent to serve a brand new affirmative report, to avoid burdening

   the Court and without waiver of its rights to object to this clear violation of the Scheduling

   Order, Google was willing to explore a resolution of this untimely report through a reasonable


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   schedule to respond. But Plaintiffs were not willing to do that and instead now seek the Court’s

   blessing of their report as “properly and timely served”—without mentioning either their

   demand that Google provide any responsive reports within three business days or their own

   refusal to negotiate the obvious scheduling problem that they have created.

          Though styled as a “supplemental” report, the report at issue (the “Second Affirmative

   Report”) is wholly unrelated to the previously disclosed opinions of Plaintiffs’ experts. It is a

   new affirmative report about an expert topic not disclosed (as required) in June—document

   preservation. See ECF No. 458. But because they are seeking to serve a new report on a new

   topic, and not a supplement, Plaintiffs must first obtain a modification of the Scheduling Order.

   They have not even sought to do so and—even if they had—could not show the requisite good

   cause based on their failure to raise this issue earlier. To the contrary: in seeking discovery of

   the data at issue, Plaintiffs represented to the Special Master that Google would suffer no

   “burden” once that data was produced.

          But Plaintiffs’ proposed course will burden and prejudice Google. Plaintiffs took a full

   six weeks from production of the logs to serve the Report and then insisted on a patently

   unreasonable schedule that gave Google only three business days to respond. And expert

   discovery is now nearly done, with the November 18 deadline for summary judgment and

   Daubert motions looming. Those motions are intended to be made on a fulsome record to

   enable the Court to fulfill its essential gatekeeping function before a jury trial. And Plaintiffs

   are doubling down by insisting that they can foist an unreasonable timetable for expert

   discovery-on-discovery on Google while asserting simultaneously that Google is precluded

   from probing the mounting evidence of Plaintiffs’ spoliation of evidence and other discovery

   failures. (So far, twelve States have admitted that they failed to issue litigation holds.)

          If the Court deems the Second Affirmative Report to be timely served, Google will not

   only have to address Prof. Hochstetler’s new opinions now during a new, extended round of



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   expert discovery, but also move to disqualify Prof. Hochstetler through a Daubert motion.

   Plaintiffs should not be permitted to offer the new “expert” opinions contained in his Second

   Affirmative Report. But if the Court holds otherwise, it should establish a reasonable timetable

   for Google to respond, consistent with the Court’s Scheduling Order.

                                            STANDARD

          “The purpose of supplementary disclosures is just that—to supplement” and they “are

   not intended to provide an extension of the expert designation and report production deadline.”

   Metro Ford Truck Sales, Inc. v. Ford Motor Co., 145 F.3d 320, 324 (5th Cir.1998); see also

   Sierra Club, Lone Star Chapter v. Cedar Point Oil Co. Inc., 73 F.3d 546, 571 (5th Cir. 1996)

   (“[Supplementary and rebuttal] disclosures are not intended to provide an extension of the

   deadline by which a party must deliver the lion’s share of its expert information.”).

          If the changes or additions to an expert report fall outside the scope of proper

   supplementation, then the appropriate procedural vehicle is “to seek an extension of [the] expert

   report deadline and establish ‘good cause’ to modify the Court’s scheduling order pursuant to

   Federal Rule of Civil Procedure 16.” Diaz v. Con-Way Truckload, Inc., 279 F.R.D. 412, 422

   (S.D. Tex. 2012). “A schedule may be modified only for good cause and with the judge’s

   consent.” Fed. R. Civ. P. 16(b)(4); see also Kumar v. Frisco Indep. Sch. Dist., 476 F. Supp. 3d

   439, 468 (E.D. Tex. 2020) (striking untimely-filed expert report where “Defendants have not

   established good cause for the Court to grant leave under Rule 16(b)”). To be clear, Plaintiffs

   do not seek leave to modify the Court’s scheduling order; they seek a judicial determination

   that the Second Affirmative Report was in fact timely.

                                            ARGUMENT

     I.   Plaintiffs Have Misrepresented The Nature Of This Dispute To The Court.

          Plaintiffs’ Motion fails to mention the issue that actually drove the parties to an impasse.

   After Plaintiffs first contacted Google on September 27, 2024, to tell them that a supposedly



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   “supplemental” report was forthcoming,1 Google told Plaintiffs on October 1 that any such

   report would be untimely, that Plaintiffs would need leave of the Court to serve another report,

   and that—to the extent any such report were permitted—Google would have the right to serve

   a responsive report. Ex. C. Plaintiffs never responded. Instead, they served their untimely 43

   page report on October 4, and invited Google to propose dates for a two-hour deposition.

             Without waiving its right to object to Plaintiffs’ untimely report, Google gave proposed

   dates for a deposition. Ex. D. Plaintiffs then proposed, on October 16, that Google should

   serve any responsive reports by October 21, i.e., within three business days. Ex. E. At a meet-

   and-confer that day, Google told Plaintiffs that their proposal was unrealistic and unreasonable

   given that the governing Scheduling Order provides for 7.5 weeks to serve responsive reports

   and that Plaintiffs themselves took six weeks from production of the logs to prepare their own

   new report. Plaintiffs then stated—for the first time—that they intended to file this Motion.

             Google told Plaintiffs that it “opposes based on Plaintiffs’ insistence on an unreasonable

   schedule and reserves the right to object to the [Second Affirmative Report] as untimely.” Ex.

   F. In their Certificate of Conference, Plaintiffs misrepresent that position by omitting any

   reference to Plaintiffs’ insistence on an unreasonable schedule and pretend that this dispute is

   limited to their own untimely service of a purported “supplemental” report. Compare id. with

   ECF No. 638 at 9.

       II.   The Report Is Not A “Supplemental” Report.

             Plaintiffs’ affirmative expert reports were due more than four months ago on June 7,

   2024. ECF No. 458. If Plaintiffs had intended to submit an affirmative report addressing


   1
     Plaintiffs seek to backdate their disclosure to September 9, when they buried a throwaway
   line in approximately 1,400 pages of expert reports, as part of a “rebuttal” report authored by
   Prof. Hochstetler that had nothing to do with chats or retention thereof, but rather, a technical
   analysis of Google’s advertising technology stack: “I understand that Google has recently
   produced chat log data. I reserve the right to serve a supplemental report in the future analyzing
   that data.” Hochstetler Rebuttal Report at 4. Prof. Hochstetler provided no further details,
   and the notice given was insufficient for Google to anticipate the opinions that might follow.

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   discovery-on-discovery, then they needed to designate an expert witness and his or her

   anticipated opinions at that time. Plaintiffs did not. Instead, they designated Prof. Hochstetler

   to opine on “the operation of the products used in web display advertising,” and other technical

   elements of Google’s display advertising products. Ex. G (June 7, 2024 Opening Report of

   Jacob Hochstetler) at 6. They said nothing about Chats, logs, or discovery-on-discovery.

          Seeking to skirt this failure to disclose, Plaintiffs now recast Prof. Hochstetler’s new

   report as “supplemental” even though it plainly has nothing to do with his timely-served

   opinions. ECF No. 638 at 3-4. But a report is not “supplemental” merely because it was

   authored by an expert who had been disclosed in connection with a separate opinion. Newberry

   v. Disc. Waste, Inc., No. 4:19-CV-00147, 2020 WL 363775, at *2 (E.D. Tex. Jan. 22, 2020)

   (“Plaintiffs may not ‘supplement’ their expert’s report—with entirely new conclusions and

   theories regarding Defendant’s wrongdoing—nearly four months after the deadline set by the

   Scheduling Order. This is not a supplement, but an entirely new expert report.”); see also

   Kumar v. Frisco Indep. Sch. Dist., 476 F. Supp. 3d 439, 469 (E.D. Tex. 2020) (excluding as

   not supplemental a report that “was not attempting to correct an inaccuracy nor complete an

   outstanding issue in [the expert’s] report”).

          Citing Diaz v. Con-Way Truckload, Inc., 279 F.R.D. 412 (S.D. Tex. 2012), Plaintiffs

   argue that parties may supplement expert reports at any time up to 30 days before trial, even

   with “new opinions.” ECF No. 638 at 3-4. But in fact, Diaz makes clear that “[t]he basic

   purpose of supplementary disclosures under Rule 26(e)(2) is to prevent prejudice or surprise,

   not to provide an extension of the expert designation and report production deadline.” Diaz,

   279 F.R.D. at 421 (cleaned up) (citing Metro Ford Truck Sales, 145 F.3d at 324). Diaz also

   makes clear that supplementation is only appropriate “in certain limited circumstances” and

   that “permissible supplementation means correcting inaccuracies, or filling the interstices of an

   incomplete report.” Id. at 421 (emphasis in original; citations and quotation marks omitted).



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   Any other approach would violate Rule 26, which requires that initial expert disclosures

   include “a complete statement of all opinions the witness will express.” Fed. R. Civ. Pr.

   26(a)(2)(B)(i) (emphasis added).

          Plaintiffs do not seriously argue that this brand new report is supplementation. Nor

   could they. Prof. Hochstetler’s Opening Report opined on the ad tech products at issue in this

   case. And his rebuttal report responded to a report submitted by Google and authored by Prof.

   Martin Rinard, which had nothing to do with chats, logs, or retention.

          By contrast, Prof. Hochstetler’s Second Affirmative Report explains that he will now

   opine on Google’s preservation of purportedly relevant chat messages based on “chat log data,”

   ECF No. 638-1 at 3-4. But beyond citing his original and rebuttal reports to explain his

   qualifications, Prof. Hochstetler never cites those reports again and he never purports to correct

   any prior misstatements. Nor does he argue that the chat log supplies information that was

   missing from those reports. The Court should therefore exclude the Second Affirmative Report

   as an untimely attempt to disclose new expert testimony through the back door. See Metro Ford

   Truck Sales, 145 F.3d at 324 (“[Supplemental] disclosures are not intended to provide an

   extension of the expert designation and report production deadline.”).

   III.   Plaintiffs Have Failed To Show Good Cause To Modify The Scheduling Order
          To Permit The Service Of Yet Another Affirmative Report.

          “In the context of an untimely motion to amend a scheduling order’s deadlines for the

   designation of experts and to file expert reports, the Fifth Circuit Court of Appeals applies a

   four-factor balancing test to determine whether good cause exists: [A] the explanation for the

   failure to adhere to the deadline; [B] the importance of the proposed modification to the

   scheduling order; [C] potential prejudice in allowing the testimony or the supplement; and [D]

   the availability of a continuance to cure such prejudice.” Diaz, 279 F.R.D. at 422 (citing

   Geiserman v. MacDonald, 893 F.2d 787, 791 (5th Cir.1990)). All four factors demonstrate

   that Plaintiffs have not shown good cause.


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              A. Plaintiffs Have Presented No Credible Explanation For Failing To Abide
                 By This Court’s Scheduling Order.

          Chats and retention are not new issues in this case. Plaintiffs were well aware of the

   existence of the logs at issue and had expressed a desire to show that relevant chats were lost

   well in advance of the Court’s deadline for expert disclosures under the Scheduling Order.

   Plaintiffs requested the logs on April 3, 2024, in the final month of a 16-month discovery

   period. And Google provided sworn 30(b)(6) testimony about the logs on May 17, 2024,

   including, among other things,



                                Since then, Plaintiffs have had multiple opportunities to disclose

   their intentions to the Court, the Special Master, and Google, but failed to do so.

          First, Plaintiffs did not inform the Special Master of their intent to serve another expert

   report when they moved to compel production of the logs on June 26, 2024. ECF No. 540. To

   the contrary, they told the Special Master that production would impose no burden on Google,

   and the Special Master’s Order was based on the fact that the production of the logs would be

   “free from any burden to Google.” ECF No. 558 at 13; cf. Ex. A at 85:2 (counsel for Texas

   stating: “All the burden is over”). There was no mention—in the motion-to-compel briefing

   or hearing—of Plaintiffs’ intent to designate an expert to testify regarding the alleged

   document-preservation implications of such logs (which cover a 68 day period for just five of

   the 192 custodians in this case).

          Second, Plaintiffs did not inform Google of their intent to serve another affirmative

   expert report when the parties recently renegotiated the expert schedule. Throughout August

   2024, the parties negotiated dates for expert depositions and extensions of the expert schedule,

   culminating in a Joint Motion Pursuant to Rule 16(b) To Modify Scheduling Order To Provide

   Brief Extensions Of Expert Discovery Period And Summary Judgment/Daubert Deadlines,




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   ECF No. 607. The Court then entered an Order implementing those agreed dates. ECF No.

   609. Plaintiffs said nothing about this forthcoming Second Affirmative Report.

           Third, even after Google produced the logs, Plaintiffs continued to fail to mention their

   intent when meeting and conferring about Plaintiffs’ requests for additional discovery about

   the logs. To the contrary, on August 28 Plaintiffs told Google that they needed additional

   information about the logs in advance of Sundar Pichai’s deposition. Ex. B at 3. But Plaintiffs

   did not ask Mr. Pichai about the logs.

           Fourth, Plaintiffs failed to seek the leave of the Court to serve a supplemental report

   even after Google explicitly explained to Plaintiffs on October 1 that any such report would be

   untimely and that leave of the Court would be required. Ex. C. Plaintiffs ignored Google’s

   email, never responded, and served the Second Affirmative Report three days later without

   further explanation. Cf. Local Rule CV-7(k) (“Motions for leave to file a document should be

   filed separately and immediately before the document for which leave is sought.”). Then, in

   their Motion, Plaintiffs make the patently false assertion that it was only “[t]wo days ago,” that

   “Google informed the States for the first time” that the Second Affirmative Report was

   untimely and required leave to serve. Compare ECF No. 638 at 3 with Ex. C. (“Plaintiffs have

   no basis to issue a supplemental report on Chats data and will need to seek leave from the Court

   to do so.”).

           Plaintiffs have explained none of these failures or misrepresentations. Instead, they

   falsely assert that “[o]n July 22, 2024, Google agreed to produce a subset of those logs,” ECF

   No. 638 at 2, and then repeatedly assert (also falsely) that Google waited over a month to do

   so. Id. at 2, 4, 5. In fact, Google agreed on July 29 to produce only those portions of the logs

   relating to custodians overlapping between the Play case in which they were originally

   produced and this case. See Ex. B at 4. Google agreed to do so to avoid the need to burden




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    the Court with a further appeal to the Court. But producing that subset was burdensome to

    Google, and took weeks, because it required repackaging the logs.2

               B. The Late Report Is Not Important Because The Report Contains No
                  Relevant, Admissible Evidence

           If the Court deems the Second Affirmative Report to be timely served, Google will not

    only have to address Prof. Hochstetler’s new opinions now during a new, extended round of

    expert discovery, but also move to disqualify Prof. Hochstetler through a Daubert motion. The

    Court can and should eliminate the need for such briefing by determining on the merits that

    this brand new “supplemental” Report cannot possibly have any importance. See Newberry v.

    Disc. Waste, Inc., No. 4:19-CV-00147, 2020 WL 363775, at *3 (E.D. Tex. Jan. 22, 2020)

    (second factor in favor of precluding supplemental report where “Plaintiffs do not address the

    importance of the new testimony”).

           Prof. Hochstetler’s opinions are obviously improper and subject to exclusion. He

    opines that




                                                                                      Id. at 35. But

    those are legal opinions drafted by Plaintiffs’ counsel. A self-proclaimed expert at “developing

    and managing software at scale,” Ex. G at 7, has no basis to opine on

                                                        Manning v. Crockett, No. 95 C 3117, 1999

    WL 342715 at *3 (N.D. Ill. May 18, 1999) (“the assistance of counsel contemplated by Rule



    2
     Specifically, because the logs had not been produced “by custodian” in the Play case,
    generating a version of the logs for only an agreed subset of the relevant custodians required
    Google’s engineers to repackage the logs for just the agreed subset of custodians.


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    26(a)(2)(B) is not synonymous with ghost-writing”) cited in Seitz v. Envirotech Sys. Worldwide

    Inc., No. CIV. A. H-02-4782, 2008 WL 656513, *2 (S.D. Tex. Mar. 6, 2008). Prof. Hochstetler

    does not profess to be an expert on electronic discovery or document preservation obligations,

    including relevance. And even Prof. Hochstetler concedes that




           Accordingly, it is far from “important” that Plaintiffs be permitted to introduce the

    opinions of a software expert on Google’s document preservation obligations and compliance

    therewith, let alone on the legal relevance of a chat.

               C. Plaintiffs’ Failure To Timely Disclose Their Intention To Serve Yet
                  Another Affirmative Expert Report Is Prejudicial To Google.

           The prejudice to Google is significant and self-evident.

           First, Plaintiffs repeatedly failed to timely disclose their intent to serve a new report

    about Google’s document preservation. Supra at 7-8. Google produced all of the information

    that it was required to provide on August 26.3 Plaintiffs then took a full six weeks from

    production of the logs to serve the Report and failed to seek the Court’s leave to do so even

    after Google told them that leave was required. Ex. C at 1. In the meantime, Google had

    provided Plaintiffs with additional information in response to Plaintiffs’ false assertions that it




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     The Court should not credit Plaintiffs’ various assertions that they were waiting on Google to
    provide additional information to finalize the Second Affirmative Report. Plaintiffs never told
    Google that they needed further information for that purpose, and Google had no obligation to
    answer further questions. Google provided most of the confirmations requested by Plaintiffs
    on August 29—within a day of receipt and more than five weeks before Plaintiffs submitted
    the Second Affirmative Report. Ex. B. When the parties met and conferred on September 13,
    Plaintiffs did not disclose that they would weaponize Google’s good faith agreement to answer
    additional questions to claim that more information was needed to finalize their Report. Ex. C.

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    was required for a deposition. See supra at 1, 8.4 Had Plaintiffs not sat silently in wait, the

    parties could have addressed it earlier and agreed on an appropriate schedule.

           Second, the schedule proposed by Plaintiffs for any responsive reports is patently

    unreasonable. Supra at 2; Ex. E. It is obvious that the current schedule cannot accommodate

    Plaintiffs’ late disclosures, and the fact that Plaintiffs have declined to seek a modification of

    the Scheduling Order or engage in a negotiation demonstrates that they know this. Instead,

    Plaintiffs seek to have their desired timeline and their untimely expert report and have Google

    prejudiced by a compressed timeline to assess and respond to Plaintiffs’ software expert’s

    report on document preservation and legal relevance. Significantly, that prejudice flows to the

    Court as well, which would be deprived of adequate expert discovery on the Daubert motion

    that would follow on Prof. Hochstetler’s so-called expert opinion.

           Third, expert discovery is winding down, and Plaintiffs have not advanced any good

    reason to engage in another round on a new topic that, at least according to Plaintiffs, they have

    been pursuing for over four years. See, e.g., Ex. A at 34:4-5 (Counsel for Texas stating: “we’ve

    been raising [Chats] since 2020.”). Google is now preparing to move for summary judgment

    while Plaintiffs continue to complete fact discovery by making new productions. The Special

    Master has already ruled that Puerto Rico’s late productions have prejudiced Google. ECF No.

    537. Utah recently discovered that it ran ad tech campaigns via instant message and made a

    production of documents less than two weeks ago. And while twelve States—including

    Texas—have now admitted that they never issued a litigation hold notice, three others continue

    to refuse to confirm whether they did so. And Plaintiffs have taken the position that it is too

    late for Google to engage in further discovery-on-discovery, while Plaintiffs are doing precisely



    4
     The Court should not credit Plaintiffs’ assertions that Google provided this information “on a
    rolling basis,” ECF No. 638 at 2, because Google told Plaintiffs that they had no obligation to
    provide further information and Plaintiffs did not tell Google that they planned to serve another
    Report.


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    that. See Ex. I. It is patently unfair for Plaintiffs to insist that they can foist an unreasonable

    timetable for expert discovery-on-discovery on Google while asserting that Google is

    precluded from probing the mounting evidence of Plaintiffs’ spoliation of evidence and other

    discovery failures.

               D. The Prejudice To Google Cannot Be Cured Through Granting a
                  Continuance.

           Even if the Court were to grant a continuance, some prejudice to Google is irreversible.

    Rather than appealing the Special Master’s July 15, 2024 Order requiring disclosure of the Play

    logs, Google, in good faith, negotiated a narrower production set not knowing that Plaintiffs

    would turn around and use it as a basis for serving an additional, untimely expert report.

    Indeed, because Plaintiffs’ expert disclosures were due on June 7, Google did not think that

    this was even a prospect. Even after that agreement, Google undertook the burden of providing

    explanatory information that it had no obligation to provide, only for Plaintiffs to later claim

    that they were waiting for this information to complete their surprise additional report.5 And

    Plaintiffs’ failure to mention their planned late disclosure to the Court also prejudiced Google

    in the course of August renegotiations of the expert discovery schedule, supra at 7- 8, as Google

    agreed to—and the Court endorsed—a new expert schedule without knowing the full landscape

    of expert discovery. A continuance cannot unwind that prejudice.

    IV.    If The Court Finds There Is Good Cause To Permit Plaintiffs’ Untimely
           Affirmative Report To Be Served, Google Is Entitled To A Reasonable Time To
           Respond.6




    5
      Plaintiffs induced Google to provide the explanatory information under the false pretense of
    using it for Mr. Pichai’s deposition. See supra at 1, 8; Ex. B at 2.
    6
      Google notes that when Plaintiffs previously requested that the Special Master make
    modifications to the Scheduling Order, the Court entered an Order stating that “[g]iven the
    current timeline in this case, the Court will handle any such request in the first instance.” ECF
    No. 422. There is a status and scheduling conference currently scheduled with the Court for
    October 30, 2024. Google has filed an unopposed motion to reset that conference to the week
    of November 4, 2024. ECF No. 643.

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           If the Court permits the Second Affirmative Report, the only way to mitigate the

    prejudice to Google is for the process for responding to the Report to hew as closely as possible

    to that of all other affirmative expert reports. That is, Google should receive 7.5 weeks to

    retain, prepare, and serve its responsive report, which would make that report due on November

    26, 2024. Moreover, Plaintiffs have indicated that they will file a rebuttal report, and that

    depositions would then be scheduled following service of all expert reports. See Ex. E.

                                           CONCLUSION

           Plaintiffs’ Motion should be denied. To the extent that it is granted, Google should be

    given until November 26, 2024 to respond to this brand new expert report.



    Dated: October 23, 2024                       Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

           I certify that on October 23, 2024, this document was filed electronically in compliance
    with Local Rule CV-5(a) and served on all counsel who have consented to electronic service,
    per Local Rule CV-5(a)(3)(A).

                                                                /s/ Ayesha Najam
                                                                Ayesha Najam

                                  CERTIFICATE OF SEALING

             This Response is filed under seal pursuant to the Special Master’s October 21, 2024
    Order directing Google to file a sealed response. This sealed filing will be promptly served by
    email on counsel of record for all parties, and pursuant to Local Rule CV-5(a)(7)(E), Google
    will file a redacted copy within seven days.

                                                                /s/ Ayesha Najam
                                                                Ayesha Najam




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